Case 8:01-cr-00443-JSM-E_J Document 452 Filed 08/30/05 Page 1 of 2 PageID 635




                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION


   PETER CHAPPA,

           Petitioner,

   v.                                                                   CASE NO. 8:04-CV-1688-T-30EAJ
                                                                                8:01-CR-443-T-30EAJ
   UNITED STATES OF AMERICA,

        Respondent.
   ______________________________/

                                                     ORDER

           This matter comes before the Court upon Petitioner’s Notice of Appeal (Dkt. 18) of

   the June 28, 2005 decision denying his motion to vacate, set aside or correct sentence filed

   pursuant to 28 U.S.C. § 2255, see Dkt. 10, and request to proceed on appeal in forma

   pauperis (Dkt. 20). The Court construes the Notice of Appeal as a motion for issuance of

   a certificate of appealability (“COA”) pursuant to Rule 22, Fed. R. App. P.,1 and 28 U.S.C.

   §2253.2 See Dkt. 19.

           Issuance of a COA does not require a showing that the appeal will succeed. See

   Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003). Under the controlling standard, a

   petitioner must, however, demonstrate that reasonable jurists could find it debatable


           1
             "Certificate of Appealability. (1) In a habeas corpus proceeding in which the detention complained
   of arises from process issued by a state court, or in a 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
   an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
   U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
   either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
   for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
   appeals." Rule 22, Fed. R. App. P.
           2
             “Unless a circuit justice or judge issues a certificate of appealability, an appeal may not be taken to
   the court of appeals from -- (B) the final order in a proceeding under section 2255. . . . A certificate of
   appealability may issue . . . only if the applicant has made a substantial showing of the denial of a
   constitutional right." 28 U.S.C. § 2253(c).
Case 8:01-cr-00443-JSM-E_J Document 452 Filed 08/30/05 Page 2 of 2 PageID 636



   whether (1) the petition states a valid claim of the denial of a constitutional right and (2) the

   district court was correct in its procedural ruling. See Slack v. McDaniel, 529 U.S. 473, 484

   (2000)); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir 2001); Franklin v. Hightower, 215

   F.3d 1196, 1199 (11th Cir. 2000) (per curiam). Petitioner has failed to make this threshold

   showing. See Slack, 529 U.S. at 485; Franklin, 215 F.3d at 1199.

            ACCORDINGLY, the Court ORDERS that:

            1.   Petitioner’s Notice of Appeal (Dkt. 18), which the Court has construed as a

   motion for issuance of a certificate of appealability (Dkt. 19), is DENIED.

            2.   Petitioner’s Motion for Permission to Appeal In Forma Pauperis (Dkt. 20) is

   DENIED.

            DONE and ORDERED in Tampa, Florida on August 30, 2005.




   Copies furnished to:
   Counsel/Parties of Record

   SA:jsh




                                                  -2-
